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   Best Buy opens more than 40 new Experience Stores ahea


                                                               By Kevin Flanagan              November 25, 2022




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https://corporate.bestbuy.com/experience-stores/                                                                                                                 1/5
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     The ultimate inspirational shopping experience is now rolling out at select Best Buy stores across the country —
     just in time for the holiday shopping season.

     Our new Experience Store concept serves as an inspirational destination to help customers discover, learn
     about and use the latest tech. From immersive demo areas to our newest product categories, these stores offer
     something for everyone. It’s one of the many ways we’re reimagining our stores to meet our customers’
     changing needs.                                                                                         

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     We first began testing the new store format in Houston in 2020 and later added additional pilot locations,
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                one in Charlotte,     NEWS & STORIES
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     construction and plan to introduce these newly redesigned stores in more than 40 locations across the country
     just in time for the holidays.

     “For some technology, the best way to know if it’s the right fit for you and your home is to see it in person and
     get that immersive and inspirational experience,” said Damien Harmon, executive vice president of omnichannel
     at Best Buy. “We wanted to give our customers the ultimate destination to discover and get expert advice on
     the latest in tech.”


     Experience Store highlights
     These reimagined stores have all the brands customers know and love, plus some they may have not discovered
     yet. They also have new premium experiences for audio, home theater, and luxury appliances. There will be
     dedicated areas to the new product categories we unveiled earlier this year, more space for Geek Squad and
     24/7 lockers for convenient product pick up.

     Here are a few things customers can expect:

             Electric Transportation: We have a wide variety of e-bikes, scooters, mopeds and electric dirt bikes on
             BestBuy.com, and now all of our experience stores will carry them, too. Shoppers will be able to try them
             out, as well check out accessories. If you need it, we can even come to your house and help set up your
             new ride.

             Outdoor Living and Yardbird: People looking to expand their living and entertainment spaces beyond the
             inside of the house will find furniture, grills and smokers, pizza ovens, lighting and a whole lot more. Top
             brands include Weber, Traeger and Ooni. There will also be a dedicated Yardbird display showing select
             collections from its outdoor dining sets, lounge seating, fire tables and accessories.

             Health and Fitness: Whether you’re looking for new exercise equipment for your home gym or want to
             check out tech for rest and recovery, we have the healthy living essentials you need, including treadmills,
             bikes and rowers. We can deliver and install those large fitness items right to your home, too.
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             Demos: Throughout the experience stores, shoppers will be able to see tech in action at dedicated
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                     areas.           NEWS
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             product to their needs or creating the ultimate home theater experience with the latest Epson ultra short-
             throw projectors.

             LEGO: Fans of all ages will be able to get hands-on with our ever-growing LEGO assortment, featuring
             favorite collections like Harry Potter, Super Mario and Star Wars.




     More Geek Squad and pickup options
     Customers who need help with their tech devices will find an expanded Geek Squad space that’s 25% larger
     than our traditional stores, where our Agents can help diagnose problems, make repairs and offer advice.

     These redesigned stores will also have more ways for customers to get the products they want, including
     expanded curbside pickup areas, a convenient and larger in-store order pick up area and 24/7 pickup lockers.

     For more information on our new Experience Stores and to see if there’s one near you, visit BestBuy.com.



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